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                 EXHIBIT D
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    1              UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OHIO
    2                    EASTERN DIVISION
    3    IN RE: NATIONAL             )    MDL No. 2804
         PRESCRIPTION OPIATE         )
    4    LITIGATION                  )    Case No.
                                     )    1:17-MD-2804
    5                                )
         THIS DOCUMENT RELATES TO    )    Hon. Dan A.
    6    ALL CASES                   )    Polster
                                     )
    7
    8
    9                              __ __ __
   10                       Tuesday, May 14, 2019
                                  __ __ __
   11
              HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   12                  CONFIDENTIALITY REVIEW
                              __ __ __
   13
   14
   15
   16            Videotaped Deposition of JAMES E.
           RAFALSKI, VOLUME 2, held at Weitz &
   17      Luxenburg PC, 3011 West Grand Avenue, Suite
           2150, Detroit, Michigan, commencing at
   18      8:25 a.m., on the above date, before
           Michael E. Miller, Fellow of the Academy of
   19      Professional Reporters, Registered Diplomate
           Reporter, Certified Realtime Reporter and
   20      Notary Public.
   21
   22
   23                            __ __ __
   24                   GOLKOW LITIGATION SERVICES
                     877.370.3377 ph | fax 917.591.5672
   25                        deps@golkow.com

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    1      distributor, when you were working as a
    2      diversion investigator -- strike the
    3      question.       Hold on a second.
    4               A.        Can I speak to my counsel about
    5      the --
    6               Q.        No, that's okay.          We can move
    7      on.
    8               A.        -- Touhy authorization --
    9               Q.        We can move on.
   10               A.        -- that I have a question, with
   11      him?
   12               Q.        I don't have a lot of time, so
   13      I'll just withdraw the last partial question
   14      that I was just trying to ask --
   15               A.        Okay.
   16               Q.        -- and we'll move on.
   17                         Yesterday I believe you
   18      testified that none of the five flagging
   19      methods identified in your report are
   20      suitable for suspicious order monitoring
   21      systems.
   22                         Do you remember using the word
   23      "suitable"?
   24               A.        I do.     And I thought about that
   25      testimony after I left yesterday, and I'd

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    1      like to maybe correct it or make a statement
    2      in regards to it.
    3               Q.        Well, let me just ask you.
    4      What did you mean when you said none of the
    5      five flagging methods that you identify in
    6      your report are suitable for suspicious order
    7      monitoring systems?
    8               A.        Well, specifically how they
    9      would identify a suspicious order, two times,
   10      three times, the 8,000 and the pickers and
   11      packers program or the -- I think I don't use
   12      that particular name -- the one -- the one
   13      that I think that statement would indicate
   14      that I would say that the Masters was not
   15      suitable, and I -- I would disagree.
   16                         If I made that statement and
   17      said that one was, I'd like to correct that
   18      and say that I -- this would be a suitable --
   19      potentially suitable suspicious order
   20      program.
   21               Q.        The Masters method that
   22      identified 95% of Walgreens orders as
   23      suspicious, that one is suitable?                  Is that
   24      your testimony, sir?            But none of the other
   25      ones?

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